         Case 3:11-cv-00181-MRK Document 7 Filed 03/08/11 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

___________________________________________
MICHAEL ROGAN                               )                  CASE NO.:
     Plaintiff                              )                  3:11-00181-MRK
                                            )
V.                                          )
                                            )
WELTMAN, WEINBERG & REIS CO., L.P.A.        )
     Defendant                              )
___________________________________________)                   MARCH 8, 2011

                      NOTICE OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A(i), the plaintiff, Michael Rogan,

through his attorney, hereby give notice that the claims of the above-entitled action shall

be dismissed with prejudice, and without costs or attorney’s fees.


                                           PLAINTIFF, MICHAEL ROGAN



                                          By: /s/Daniel S. Blinn_______________
                                             Daniel S. Blinn, Fed Bar No. ct02188
                                             Matthew W. Graeber, Fed Bar No. ct27545
                                             dblinn@consumerlawgroup.com
                                             Consumer Law Group, LLC
                                             35 Cold Spring Rd., Suite 512
                                             Rocky Hill, CT 06067
                                             Tel. (860) 571-0408; Fax (860) 571-7457
         Case 3:11-cv-00181-MRK Document 7 Filed 03/08/11 Page 2 of 2



                                      CERTIFICATION

       I hereby certify that on this 8th day of March, 2011, a copy of foregoing
Notice of Dismissal was filed electronically and served by mail on anyone unable
to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.


                                              /s/Daniel S. Blinn
                                              Daniel S. Blinn




                                               2
